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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEVADA

CHANDAN MANANSINGH, an No. 2:20-cv-01139-DWM
individual, and ANGELA NAIRNS, an
individual,
Plaintiffs, ORDER
VS.

UNITED STATES OF AMERICA, et al.,

Defendants.

IT IS ORDERED that the parties proposed briefing schedule, [see ECF No.
106], is ADOPTED. The parties’ briefs are limited to the page limits outlined in
D. Nev. LR 7-3(b).

DATED this [Bi&y of December, 2023.

Domald W. Molloy, District Judge
United C District Court
